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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

 In Re:                                        :   Chapter 7
                                               :
 Start Man Furniture, LLC, et al.              :   Case No.: 20-10553-CTG
                                               :
                   Debtor.                     :
                                               :
                                               :
 Alfred T. Giuliano, in his capacity as        :   MEDIATION STATUS REPORT
 Chapter 7 Trustee of Art Van Furniture,       :
 LLC, et al.                                   :
                   Plaintiff,                  :
 v.                                            :   Adv. Proc. No.: 22-50161-CTG
                                               :
 Jonathan Louis International LTD et al.,      :
                                               :
                 Defendant.

        In accordance with this Court's Order Assigning Adversary Proceeding to Mediation, the
undersigned mediator reports that the mediation has not been completed and hereby provides a
projected schedule for completion.

                      Mediation is scheduled to occur on _______.

                      A mediation session needs to be scheduled, but the mediator has been
                      unable to arrange a date and time.

          X           OTHER: The Mediator expects to have a mediation date scheduled within
                      the next 45 days.


Dated: January 22, 2024                     Mediator

                                              /s/ Ian Connor Bifferato
                                            Ian Connor Bifferato (DE #3273)
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